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                                EXHIBIT COVER SHEET



                                                                             Exhibit

Party Submitting:    Mary Ida Townson, U.S. Trustee for Region 21


Admitted:            YES        or NO        (circle one)                         2


Chapter 11 Debtor:   Genie Investments NV, Inc.


Case No.             3:24−bk−00496−BAJ


Nature of Hearing:   Trial on

                     U.S. Trustee’s Motion to Appoint Chapter 11
                     Trustee, or, in the Alternative, Appoint
                     Examiner, Dismiss Case, or Convert Case to
                     Chapter 7 (Doc. No. 20)

                     Debtor’s Response Thereto (Doc. No. 34)

                     U.S. Trustee’s Reply (Doc. No. 38)

Trial Date:          April 9, 2024, at 9:00 a.m.




                           United States Bankruptcy Court
                              Middle District of Florida

                     Dated: ___________________________, 2024.


                     By: _______________________, Deputy Clerk
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